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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

x
FROST & MILLER, LLP, DOCKET NO.
Plaintiff,

-against- COMPLAINT
HEAVEN’S WAY INVESTMENT TRUST, RAYSHAWN
DELBRIDGE, AARON CAIN McKNIGHT,
SUBGALLAGHER INVESTMENT TRUST, ANN FOX,
FEMI OMOMO and HENDERSON & JONES LIMITED,

Defendants.

 

Xx

Plaintiff as and for its complaint against the Defendants alleges as follows:

A. Parties

1. Plaintiff, Frost &Miller, LLP, is a New York limited liability partnership with its
principal place of business located at 260 Madison Avneue,17" Floor, New York, New York
10016. At all relevant times, the partners of Plaintiff are Gregory Frost (“Frost”) and Kenneth N.
Miller (‘Miller’). Frost and Miller are each attorneys licensed to practice law in the State of New
York and this Court for over 45 years.

2. Defendant Heaven’s Way Investment Trust (“HWIT”), upon information and
belief, is a trust formed under the laws of the State of Georgia and at all relevant times its
principal place of business was located at 2180 Satellite Boulevard, Suite 400, Duluth, Georgia

30097.
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3. Defendant Rayshawn Delbridge (“Delbridge”), upon information and belief, is a
citizen of the State of New Jersey residing at 300 Constitution Avenue, Bayonne, New Jersey
07002 and is the principal and chief executive officer of HWIT.

4, Defendant Aaron Cain McKnight (“McKnight”), upon information and belief, is a
citizen of the State of Texas residing at 3026 Mockingbird Lane, Dallas, Texas 75205.

5. Defendant SubGallagher Investment Trust (“SubGallagher”), upon information
and belief, is a trust formed and existing under the laws of Wyoming with its principal place of
business located at 30 N. Gould Street, Suite 5817, Sheridan, Wyoming and also has conducted
business at 1942 Broadway Street, Suite 314C, Boulder, Colorado 80302 and PO Box 1830,
Midlothian, Texas 76065.

6. Defendant Ann Fox (“Fox”), upon information and belief, is a citizen of the
United Kingdom residing at 43 Suffolk Road, Westbury Wiltshire, BA13 3FD, United Kingdom.

7. Defendant Femi Omomo (“Omomo”), upon information and belief, is a citizen of
the United Kingdom residing at 17 Furze Close, Horley, RH6 9SL, United Kingdom.

8. Defendant Henderson & Jones Limited (“H&J”), upon information and belief, is a
private United Kingdom company, company registration number 09692925, and at all relevant
times its principal place of business is located at 7/10 Chandos Street, 4" Floor, Cavendish
Square, London, United Kingdom W1G DQ, which specializes in purchasing litigation and

arbitration claims from insolvent individuals and companies.

B. Jurisdiction and Venue
9. The Court has subject matter jurisdiction herein pursuant to 28 U.S.C §1332(a)(3)

because Plaintiff and Defendants, WHIT, Delbridge, McKnight, SubGallager and Moore are

citizens of different states of the United States and Defendants, Fox, Omomo and H&J are
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citizens of a foreign state, the United Kingdom and the amount in controversy exceeds
$75,000.00 exclusive of interest and costs.

10. This Court has specific personal jurisdiction over Defendants HWIT and
Delbridge because Delbridge acting on behalf of HWIT and individually has purposefully
availed himself of the privileges and benefits of conducting business in the State of New York;
and a substantial part of the events or omissions giving rise to Plaintiff's claims occurred in New
York including (1) using Plaintiff's and Miller’s names and their addresses in New York in the
Agreement without their authorization; (2) improperly and wrongfully naming Plaintiff as
escrow agent in the Agreement and in connection therewith using Plaintiffs office address and
bank account in New York; and (3) causing Fox and Omomo to wire the Cash Deposit of
$345,000.00 to the Plaintiff's bank account in New York which wire transfer is the basis for this
action.

11. This Court has specific personal jurisdiction over Defendant McKnight because
he has purposefully availed itself of the privileges and benefits of conducting business in the
State of New York; and a substantial part of the events or omissions giving rise to Plaintiff's
claims occurred in New York including (1) providing Delbridge Plaintiff's and Miller’s names
and Plaintiff's office address in New York which were used in the Agreement; (2) contacting
Plaintiff in New York to arrange for the Plaintiffs to receive the wire the Cash Deposit in the
Plaintiff's general operating bank account bank account located in New York; and (3) contacting
Plaintiff in New York to cause Plaintiff to disburse the Cash Deposit in accordance with his
instructions which act is one of the basis for this action.

12. This Court has specific personal jurisdiction over Defendant SubGallager

because it has purposefully availed itself of the privileges and benefits of conducting business in
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the State of New York; and a substantial part of the events or omissions giving rise to Plaintiff's
claims occurred in New York including (1) SubGallager issuing a Performance/Surety Bond in
the amount of $345,000.00 insuring the Cash Deposit against theft or fraud while it was in the
possession of WHIT or the purported escrow agent, Plaintiff as a result of which Plaintiff was a
third-party beneficiary of the Performance/Surety Bond; and (2) breaching its obligation to pay
the Bond upon the loss of the Cash Deposit causing damage to Plaintiff in New York.

13. This Court has specific personal jurisdiction over Defendants Fox and Omomo
because they purposefully availed themselves of the privileges and benefits of conducting
business in the State of New York; and a substantial part of the events or omissions giving rise to
Plaintiffs claims occurred in New York including (1) wiring funds to Plaintiff's general
operating bank account located in New York; (2) alleging that Plaintiff acted as escrow agent
under the Agreement in New York and that Plaintiff which is located in New York had a
purported fiduciary relationship with them; (3) filing a disciplinary action with the New York
State Bar Grievance Committee; and (4) any damages that may have been sustained by Fox
and/or Omomo caused by the Defendants HWIT, Delbridge, McKnight and SubGallagher
occurred here in New York.

14. _—_‘ This Court has specific personal jurisdiction over Defendant H&J because it has
purposefully availed itself of the privileges and benefits of conducting business in the State of
New York; and a substantial part of the events or omissions giving rise to Plaintiff's claims
occurred in New York including threatening and harassing Plaintiff through a series of emails,
telephone calls, attempted services of various alleged legal documents in New York as part of its

attempts to commence a legal action in the Courts of the United Kingdom to recover claims
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allegedly held by Fox and Omomo which H&J unlawfully purchased from Fox and Omomo,
against F&M arising out of events that occurred here in New York

15. Declaratory judgment is appropriate with respect to the Fifth, Sixth and Seventh
Cause of Action herein because an actual controversy exists between Plaintiff and Defendants
Fox, Omomo and H&J. H&J in violation of applicable New York and Georgia law has
purchased the claims of Fox and Omomo and as such now stands in the place of Fox and
Omomo as to those alleged claims. The claims of Fox and Omomo against Plaintiff are based
upon purported malpractice and breach of fiduciary duty. Despite that these alleged claims arise
from actions here in New York, that Plaintiff had and has no contact whatsoever with the United
Kingdom regarding the subject of these claims and that the Plaintiff and its partners are
governed by the laws, rules and regulations promulgated by the State of New York regulating the
conduct of New York attorneys, H&J is in the process of commencing a baseless lawsuit against
Plaintiff in the United Kingdom in excess of four hundred and fifty thousand dollars
($450,000.00). Accordingly, Plaintiff causes of action for declaratory judgment pursuant to 28
U.S.C. §2201(a) since actual controversy exists between the parties.

16. | Venue is proper in this district under 28 U.S.C §1391(b)(2) because a substantial
part of the events or omissions giving rise to the claims hereinafter set forth occurred in this
district.

Cc. Statement of Facts

17. The following facts were only learned by Plaintiff approximately five months

after they occurred.
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18. On June 10, 2018, a Project Funding Asset Management Agreement was entered
into between Defendants HWIT and Fox (the “Agreement”). A copy of the Agreement is
annexed hereto as Exhibit A.

19. | The Agreement provides that Fox was to provide a cash deposit of $345,000 (the
“Cash Deposit”) to be invested by HWIT in a “Non-Recourse Project Funding by Private
Leveraging Transactions.”

20. According to the Agreement the Cash Deposit was to be sent by Fox to an escrow
account maintained by Plaintiff and Plaintiff was purportedly to act as escrow agent. In fact,
Plaintiff was never advised of the Agreement, had no knowledge of the existence of the
Agreement or that the Agreement called for Plaintiff to act as escrow agent.

21. Plaintiff did not authorize or consent to the use of its name in connection with the
Agreement since it had no knowledge of the Agreement or the transaction contemplated by the
Agreement.

22. Plaintiff did not act as attorney for any of the parties to the Agreement or the
underlying transaction, nor did Plaintiff in any manner participate in the structuring, negotiation
or drafting of the Agreement or any related document.

23. Section 4.2 of the Agreement provides that HWIT would provide a Performance
Bond/Surety Bond to be issued by SubGallagher in the amount of $345,000.00 insuring the Cash
Deposit against theft or fraud while it was in the possession of HWIT or the purported escrow
agent, Plaintiff. A copy of the Performance Bond is annexed hereto as Exhibit B.

24, On June 11, 2018, Miller received a call from McKnight, who Plaintiff had at
times represented individually and certain of his companies in certain specific matters. McKnight

advised Miller Plaintiff would be receiving funds he was to invest on behalf of the sender. Just
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prior to that phone call with McKnight, McKnight sent Miller, by email, a copy of a document
which appears to be a SWIFT. The SWIFT indicated Danielle Amy Fox was the sender of the
funds, not Fox. There were no other details regarding the sender in the SWIFT other than her
name. There was no mention in the SWIFT that these funds were escrow funds, that they were to
be held pursuant to an arrangement, nor was there any reference to the Agreement or any
underlying transaction. A copy of the SWIFT received from McKnight is annexed hereto as
Exhibit C.

25. During McKnight’s call to Miller, McKnight advised Miller that the funds would
be sent by wire transfer into Plaintiff's general operating account. McKnight specifically advised
Miller that those funds were intended for his benefit and were under his sole control. In further
response to Miller’s questions regarding any limitations on the use of the funds McKnight stated
that there was no escrow agreement or escrow arrangement as to these funds. McKnight further
advised Miller that no one else had the right to issue any instructions with respect to those funds
and that when Plaintiff received the funds they were to be disbursed strictly in accordance with
McKnight’s instructions. To be clear, McKnight’s response to Miller’s questions stated that the
funds to be received were not escrow funds. McKnight never mentioned the Agreement or that
pursuant to the Agreement Plaintiff was to act as an escrow agent with respect to the funds it was
receiving. McKnight also did not disclose to Miller or in any way mention his relationship or any
agreement he had with HWIT or Delbridge regarding these funds. McKnight’s responses that
there was no escrow agreement or arrangement as these funds did not warrant further inquiry

26. On June 13, 2018, the funds were wired into Plaintiff's general operating account.

27. | Once the funds were received, Plaintiff notified McKnight who then sent Miller

an email with explicit instructions as to how the funds were to be disbursed. On June 13, 2018,
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Miller on behalf of Plaintiff disbursed the funds in accordance with McKnight’s instructions.
After wiring the funds Miller called McKnight to advise him that the funds had been wired out of
the account.

28. After the funds were disbursed, Plaintiff and its partners had absolutely no
involvement whatsoever as to the investment of the funds or participated in any manner in the
transaction regarding the investment of the funds.

29. At the time the funds were received and disbursed by Plaintiff, Plaintiff and its
partners had never met, spoken with, had any contact with or ever heard of Heaven’s Way,
Delbridge, Fox or Omomo. Further, F&M did not enter into an escrow agreement or any
agreement whereby F&M was retained as attorneys on behalf of Heaven’s Way, Delbridge, Fox
or Omomo with respect to the Agreement or any funds that were being invested by Fox pursuant
to the Agreement.

30. On November 15, 2018, five months after the funds had been disbursed Miller
received a telephone call from Omomo, who identified himself as Fox’s “partner” and claimed
he was representing Fox. Omomo advised Miller that Fox had not received the promised return
on the investment and he was inquiring as to the whereabouts of the funds. This was the first
time F&M or its partners had ever heard from Fox or anyone else representing her. In that
conversation Miller advised Omomo he had no knowledge of the transaction to which he was
referring, but Omomo did mention McKnight’s name and Miller advised Omomo that he would
call McKnight regarding Omomo’s claims.

31. Thereafter, Miller spoke with McKnight regarding his conversation with Omomo
advising that Omomo had mentioned an investment his partner, Fox, had made. At this time,

neither Omomo or McKnight mentioned the Agreement or any relationship to the transaction
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contemplated by the Agreement. McKnight advised Miller he would call Omomo and resolve the
issue as to the alleged investment.

32. In April, 2019, Miller was contacted by Delbridge who requested that Plaintiff act
as escrow agent for HWIT and said he had been referred to Plaintiff by McKnight. At that time,
Plaintiff was not aware of Delbridge’s or HWIT’s involvement in the subject Agreement or
transaction. Nor did Delbridge mention the transaction with Fox or the Agreement. Miller did not
associate HWIT or Delbriodge with Fox or Omomo since he had no knowledge of the
Agreement or underlying transaction. In order to accommodate Delbridge, the Plaintiff prepared
its standard escrow agreement which was customary when Plaintiff was requested to act as an
escrow agent.

33. On July 23, 2019, Miller received an email with a letter attachment from Latane
Mason, an attorney in Maryland, claiming to represent Fox and Omomo, addressed to McKnight,
WHIT in care of Delbridge and SubGallagher, which had issued the Performance Bond,
demanding the return of Fox’s funds. The letter falsely stated that Miller had prepared the
Agreement and Performance Bond and several other false statements.

34. On July 24, 2019, Miller replied to Mr. Mason’s letter setting forth the true facts
and asserting that Plaintiff nor its partners had prepared the Agreement or Performance Bond and
had no communications with the parties to the Agreement or any knowledge of the Agreement
and underlying transaction.

35. On July 31, 2019, for the first time Plaintiff received and read a copy of the
Agreement it had received from Mr. Mason as a result of which Miller contacted Delbridge to
hear his explanation as to why Plaintiff's name and Miller’s name were used in the Agreement

without their knowledge and authorization.
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36.  Delbridge admitted to Miller that his attorney drafted the Agreement, that he used
Plaintiff's name and Miller’s name in the Agreement without their authorization and that he
never sought permission to do so. Delbridge stated he received Plaintiff's and Miller’s name
from McKnight. Delbridge also admitted he was responsible for improperly and wrongfully
naming Plaintiff as escrow agent in the Agreement. Delbridge also stated that he believed the
Performance Bond was prepared by Subgallagher, the insurance company that issued the
Performance Bond.

37. The errors in the Agreement evidences that Plaintiff had nothing to do with the
preparation or drafting of the Agreement. The Agreement provides Plaintiffs address as 401
Fifth Avenue, New York, New York. Plaintiff, at the time of the Agreement, had been located at
260 Madison Avenue, New York, New York for over seven years. If Plaintiff participated in the
Agreement, it certainly would not have provided an incorrect address for the firm. In addition,
the account number for Plaintiff's IOLA Trust account is also incorrect. The account number
used in the Agreement is for Plaintiff's general operating account.

38. Thereafter, Plaintiff confronted McKnight and Delbridge regarding the
Agreement, the contents of Mr. Mason’s letter and his demands for payment. McKnight again
assured Plaintiff that the matter would be resolved. Frost demanded that McKnight advise him as
soon as he had resolved the matter.

39. Subsequently, Fox and Omomo filed a disciplinary action with the New York
State Attorney Grievance Committee (“Committee”) against Plaintiff and Miller. The complaint
contains the same false allegations as set forth in Mr. Mason’s letter. In February 2020, Plaintiff

and Miller filed a detailed response to this complaint again refuting the numerous false and

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libelous allegations made against them as to their preparation of the Agreement, related
documents and participation in the transaction.

40. Plaintiff also submitted an affidavit from McKnight confirming Plaintiff and its
partners non-involvement in the Agreement, other documents and the transaction and the
unauthorized use of Plaintiff's name in the Agreement. Plaintiff has not received any further
communication from the Committee over the approximately 17 months since it submitted its
response.

41. McKnight in his affidavit to the Committee stated:

To be clear, I had no discussions with Mr. Delbridge regarding an escrow
agreement or escrow arrangement, nor was there a requirement for an
escrow account since it was my understanding that the funds upon arrival
to F&M’s account were to be completely under my direction and that I was
to invest those funds as I discussed with Mr. Delbridge in certain structured
high leverage financial transactions with a guaranteed return.

Although I had numerous conversations with Mr. Delbridge, I did
not advise Mr. Miller or F&M of this possible transaction. I never advised
Mr. Miller of Mr. Delbridge’s or Heavens Way’s involvement in the
transaction. Nor did I identify the investor in the transaction to Mr. Miller
or anyone at F&M since I did not know the investor’s name only that Mr.
Delbridge was providing the investor. Further, Mr. Delbridge did not send
me a copy of the Project Asset Funding Management Agreement (the
“Agreement”) .... Accordingly, Mr. Miller and F&M had absolutely no
knowledge of the transaction

42. On March 26 2021, Plaintiff received an email from the Cardium law firm located
in London on behalf of its client, H&J, in which they state H&J had purchased the alleged claims
of Fox and Omomo against our law firm from Fox and Omomo. They enclosed a document
entitled the “Pre-Action Protocol for Professional Negligence”.

43. H&J have threatened to commence litigation against Plaintiff in the courts in the

United Kingdom unless Plaintiff pays their settlement demand set forth in the Pre-Action

Protocol which is substantially in excess of the Cash Deposit paid under the Agreement.

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AS AND FOR A FIRST CAUSE OF ACTION
AGAINST DEFENDANTS HWIT AND DELBRIDGE

44, Defendants HWIT and Delbridge wrongfully, knowingly, intentionally and
maliciously used Plaintiff's name in the Agreement without Plaintiff's knowledge, consent or
authorization.

45. Defendants HWIT and Delbridge wrongfully, knowingly, intentionally and
maliciously identified Plaintiff as escrow agent in the Agreement with respect to the Cash
Deposit to be made by Defendant Fox, despite the fact that HWIT and Delbridge knew that
Plaintiff did not consent or agree to act as escrow agent, did not have an escrow agreement with
any of the parties to the Agreement and had no knowledge of the Agreement or its terms. Nor
did HWIT or Delbridge ever attempt to contact Plaintiff to obtain their consent to the use of its
name in the Agreement or its consent to act as escrow agent.

46. Defendants HWIT and Delbridge wrongfully, knowingly, intentionally and
maliciously misappropriated Plaintiff's name and misidentified Plaintiff as escrow agent for the
purpose of fraudulently inducing Defendant Fox to invest her alleged funds.

47. As a result of the wrongful, knowing, intentional and malicious fraudulent
misconduct, Plaintiff has been damaged in an amount not presently ascertainable, but believed to
be in excess of $450,000.00 together with an award of punitive damages in an amount to be
determined by the trier of the facts herein.

AS AND FOR A SECOND CAUSE OF ACTION
AGAINST DEFENDANTS HWIT AND DELBRIDGE

48. Plaintiff repeats paragraphs 1 through 47 as if fully set forth herein at length.

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49. Defendants HWIT and Delbridge unlawfully used Plaintiff's name in the
Agreement without their authorization or consent to fraudulently induce Fox to enter into the
Agreement and provide the Cash Deposit called for under the Agreement.

50. The foregoing actions of Defendants HWIT and Delbridge were in violation of

New York General Business Law §380-S.

51. By virtue of the foregoing, Plaintiff has been damaged in an amount not presently
ascertainable, but believed to be in excess of $450,000.00.

AS AND FOR A THIRD CAUSE OF ACTION
AGAINST DEFENDANT McKNIGHT

52. Plaintiff repeats paragraphs | through 51 as if fully set forth herein at length.

53. Defendant McKnight aided and abetted Defendants HWIT and Delbridge in their
wrongful use of Plaintiff's name and identification as escrow agent in the Agreement by
providing HWIT and Delbridge with the information set forth in the Agreement as to Plaintiff.

54. Upon information and belief, sometime in mid-2018 Delbridge approached
McKnight regarding an investment the two had previously discussed. Delbridge advised
McKnight that he had an investor who was interested in investing in the subject transaction on
the terms they had discussed. Delbridge advised McKnight he was preparing a contract with the
investor and asked McKnight where he should send the funds to be invested. McKnight told
Delbridge the funds should be sent to Plaintiff which had represented him on prior occasions
where they had received funds from potential investors.

55. As aresult of the foregoing, Plaintiff has been damaged in an amount not

presently ascertainable, but believed to be in excess of $450,000.00.

AS AND FOR A FOURTH CAUSE OF ACTION
AGAINST DEFENDANT HWIT, DELBRIDGE AND McKNIGHT

56. Plaintiff repeats paragraphs 1 through 55 as if fully set forth herein at length.

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57. Defendants HWIT, Delbridge and McKnight wrongfully, knowingly, intentionally
and maliciously failed to advise Plaintiff of the Agreement, the underlying transaction and
Plaintiffs purported role as “escrow agent” pursuant to the Agreement.

58. If Defendants had not omitted to advise Plaintiff of the Agreement, the underlying
transaction and Plaintiff's purported role as “escrow agent’ pursuant to the Agreement, Plaintiff
would have undertaken to prepare an escrow agreement which would have included the party or
parties who were to instruct Plaintiff as to the release of the funds and the conditions of such
release and would have included Plaintiff's standard requirements for an escrow agreement
protecting Plaintiff in its role as escrow agent.

59. Because of Defendants HWIT, Delbridge and McKnight wrongful, intentional
and malicious omissions failing to advise Plaintiff of the Agreement and underlying transaction,
Plaintiff was precluded from undertaking the necessary steps to protect itself.

60. As a result of the wrongful, intentional and malicious fraudulent misconduct,
Plaintiff has been damaged in an amount not presently ascertainable, but believed to be in excess
of $450,000.00 together with an award of punitive damages in an amount to be determined by
the trier of the facts herein.

AS AND FOR A FIFTH CAUSE OF ACTION
AGAINST DEFENDANTS SUBGALLAGHER

61. Plaintiff repeats paragraphs | through 60 as if fully set forth herein at length.

62. Section 4.2 of the Agreement provides that the Performance Bond would cover
100% of the initial capital Amount (the Cash Deposit) based on theft or fraud while the funds
were in the possession of HWIT or the purported escrow agent, Plaintiff.

63. This section clearly evidences that the purported escrow agent, Plaintiff was

intended as a third-party beneficiary of the Performance Bond issued by Defendant SubGallager.

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64. Further, the Performance Bond identifies, the purported escrow agent, Plaintiff, as
one of the beneficiaries of the protection provided by the Performance Bondinsureds.

65. Upon information and belief, Defendant SubGallager failed to perform its
obligations under the Performance Bond and did not pay Defendant Fox the Cash Deposit as
provided for under the terms of the Bond.

66.  Asaresult of the foregoing, Plaintiff has been damaged in an amount not
presently ascertainable, but believed to be in excess of $450,000.00.

AS AND FOR A SIXTH CAUSE OF ACTION
AGAINST DEFENDANTS FOX, OMOMO and H&J

67. Plaintiff repeats paragraphs 1 through 66 as if fully set forth herein at length.

68. Pursuant to its website, Defendant H&J specializes in purchasing the litigation
and arbitration claims from insolvent individuals and companies.

69. On March 19, 2021, H&J purchased the claims of Defendants Fox and Omomo
arising under the Agreement, including their alleged claims against Plaintiff, the purported
escrow agent under the Agreement.

70. The sole purpose of the purchase of the claims was to commence litigation against
Plaintiff as evidenced by the Letter of Claim written to Plaintiff by H&J’s United Kingdom
attorneys, the Cardium Law firm, and the over 100 page Pre-Action Protocol served with the
Letter of Claim. The Letter of Claim is annexed hereto as Exhibit D. Inexplicably, the Letter of
Claim is only against Plaintiff and is not made against the parties that participated in the
Agreement and underlying transaction.

71. The Letter of Claim demanded that Plaintiff pay H&J the sum of $458,277.78

allegedly for the claims of Fox and Omomo pursuant to the Agreement including interest at a

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tate of 8% above the Bank of England Base Rate, costs and legal fees which demand was
threatened to increase significantly if the action were to proceed to litigation.

72. Plaintiff's response to the Pre-Action Protocol is due on August 6, 2021. Pursuant
to several communications Plaintiff has received from H&J’s attorneys, if Plaintiff does not
accede to H&J’s settlement demands it will immediately commence an action against Plaintiff in
the Courts of the United Kingdom despite the fact that there is no basis to assert jurisdiction over
the Plaintiff in the United Kingdom.

73. | H&J’s business plan is to acquire litigation claims from others to commence or
continue suit on these claims. H&J’s acquisition of Fox’s and Omomo’s alleged claims was for
no other purpose than to threaten or commence a lawsuit against Plaintiff. H&J intended to
improperly coerce Plaintiff to pay funds it has no legal obligation to pay to Fox or Omomo to
profit from the purchase of the claims. The action against Plaintiff was not merely an incidental
or secondary purpose of H&J’s purchase of the claims, but its very essence.

74. Section 13 of the Agreement provides that in any legal action to enforce the
Agreement the applicable law in such action shall be the law of the State of Georgia.

75. Since Defendant H&J purchased the claims of Defendants Fox and Omomo under
the Agreement it is bound by the terms of the Agreement, including the stated Section 13.
Further, the law of the United Kingdom does not apply to the Agreement or this Action.

76. | Under Georgia and New York law the agreement between Fox and Omomo and
H&J whereby Fox and Omomo sold and H&J purchased the alleged claims from Fox and
Omomo against Plaintiff constituted the offense of champerty and accordingly, that agreement is

null and void and unenforceable.

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77. _ Based upon the foregoing, Plaintiff requests that the Court pursuant to 28 U.S.C.
§2201 et seq., issue a declaratory judgment that the purchase by H&J of the alleged claims of
Fox and Omomo against Plaintiff constitutes the offense of champerty and is therefore, null and
void and of no further force and effect.

AS AND FOR A SEVENTH CAUSE OF ACTION
AGAINST DEFENDANTS FOX, OMOMO and H&J

78. Plaintiff repeats paragraphs | through 77 as if fully set forth herein at length.

79. Based upon the facts as stated herein, Plaintiff and its partners had no knowledge
of the Agreement, nor did they prepare the Agreement or any related document. Further,
Plaintiff, as stated, had no communications with Fox and/or Omomo until over five months after
the Agreement was executed and the subject transaction closed.

80 Based on these facts, Plaintiff did not act as escrow agent under the Agreement or
have any relationship with Fox and/or Omomo including any fiduciary obligation to Fox and
Omomo. Nor can such a relationship or obligation be foisted upon Plaintiff and its partners.

81. The attempt, and continued attempt, by Fox, Omomo and HJ to insist that Plaintiff
was the escrow agent for the Cash Deposit allegedly sent by Fox is a fiction of which they are
aware. These are frivolous and specious allegations. There is no factual basis for a finding that
Plaintiff was the escrow agent under the Agreement and there was and is no fiduciary obligation
from Plaintiff to Fox and or Omomo created by the facts of this case.

82. Accordingly, Plaintiff requests that the Court issue a declaratory judgment
pursuant to 28. U.S.C. §2201 et seq., finding that Plaintiff was not the escrow agent under the

Agreement and had no fiduciary obligation to Fox and/or Omomo.

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AS AND FOR A EIGHTH CAUSE OF ACTION
AGAINST DEFENDANTS FOX, OMOMO and H&J

83. Plaintiff repeats paragraphs | through 82 as if fully set forth herein at length.

84. | Defendant Fox purportedly sent the Cash Deposit pursuant to the Agreement to
Plaintiff's general operating account on June 18, 2018.

85. Plaintiff in accordance with the instructions of its then client, McKnight disbursed
the Cash Deposit on that same day.

86. This one act of Plaintiff and its partners is the entire basis of the alleged
professional negligence/malpractice and breach of fiduciary obligation claims asserted by H&J,
Fox and Omomo,

87. Plaintiff is a New York limited liability partnership and its partners are licensed to
only practice law under the State of New York. Accordingly, New York law governs the
professional conduct of the Plaintiff and its partners.

88. | Under New York law, the statute of limitations governing actions for professional
negligence/malpractice and breach of fiduciary obligations where money damages is sought is
three years, NY CPLR §213. The statutes of limitations commence to run on the date of the
event constituting the alleged negligence/malpractice or the breach of fiduciary obligation which
in this case is June 13, 2018.

89. Accordingly, the alleged claims of H&J, Fox and Omomo against Plaintiff and its
partners are time-barred.

90. Based upon the foregoing, Plaintiff requests that the Court issue a declaratory
judgment pursuant to 28 U.S.C. §2201 et seq., finding that the alleged claims of H&J, Fox and
Omomo against Plaintiff are barred by the applicable Statutes of Limitations.

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

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(a) On the First Cause of Action damages to be awarded against Defendants
Heaven’s Way Investment Trust and Rayshawn Delbridge to Plaintiff in an amount not presently
ascertainable, but believed to be in excess of $450,000.00 together with an award of punitive
damages in an amount to be determined by the trier of the facts herein;

(b) On the Second Cause of Action damages to be awarded against
Defendants Heaven’s Way Investment Trust and Rayshawn Delbridge to Plaintiff in an amount
not presently ascertainable, but believed to be in excess of $450,000.00;

(c) On the Third Cause of Action damages to be awarded against Defendant
Cain McKnight to Plaintiff in an amount not presently ascertainable, but believed to be in excess
of $450,000;

(d) | Onthe Fourth Cause of Action damages to be awarded against Defendants
Heaven’s Way Investment Trust, Rayshawn Delbridge and Cain McKnight to Plaintiff in an
amount not presently ascertainable, but believed to be in excess of $450,000.00 together with an
award of punitive damages in an amount to be determined by the trier of the facts herein;

(e) On the Fifth Cause of Action damages to be awarded against Defendants

SubGallagher Investment Trust and Patricia Moore to Plaintiff in an amount not presently

ascertainable, but believed to be in excess of $450,000.00;

(f) On the Sixth Cause of Action a declaratory judgment that the Agreement
between Defendants Henderson & Jones Limited and Ann Fox and Femi Omomo whereby
Henderson & Jones Limited purchased the alleged claims of Ann Fox and Femi Omomo against

Plaintiff is in violation of the champerty laws of the State of Georgia and is null and void and

unenforceable;

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(g) On the Seventh Cause of Action a declaratory judgment by the Court that
Plaintiff and its partners were that Plaintiff was not the escrow agent under the Agreement for the
Cash Deposit and neither Plaintiff or its partners had any fiduciary obligation to Defendants Ann
Fox and/or Femi Omomo;

(h) On the Eighth Cause of Action a finding that the purported claims of
Defendants Henderson & Jones Limited, Ann Fox and Femi Omomo are barred by the applicable
New York Statutes of Limitations;

(i) all with interest thereon at the statutory rate of 9% per annum from June
13, 2018 together with the costs and disbursements of this action; and

(j) such other and further relief as the Court may deem just and proper.
Dated: New York, New York

August 5, 2021

Plaintiff
Frost & Miller, LLP

 
  

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